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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

 DARRYL G. GRIGSBY
     Petitioner,
                                                      Electronically Filed

                                                      CASE NO: 3:17-cv-00463-CHB-CHL
 VS.


 DON BOTTOM, in his official capacity as
      Warden of Northpoint Training
      Center,
      Respondent.

                                      NOTICE OF APPEAL


        Notice is hereby given that Darryl G. Grigsby, Petitioner in the above styled case, hereby

 appeals the Judgment imposed by the District Court on July 9, 2019, to the United States Court

 of Appeals for the Sixth Circuit.

                                              Respectfully submitted,

                                              /s/ Maureen Sullivan______________
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                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing was sent via
 ECF this 8th day of August, 2019, which will send a notice of electronic filing to all counsel of
 record.

                                              /s/ Maureen Sullivan______________
                                              MAUREEN SULLIVAN
